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                       UNITED STATES BANKRUPTCY COURT
                          DISTRICT OF NORTH DAKOTA

In re:                                                    Chapter 11

VANITY SHOP OF GRAND FORKS, INC.,                         Case No. 17-30112 (SH)



                         Debtor.


             NOTICE OF APPEARANCE AND REQUEST FOR NOTICES

     PLEASE TAKE NOTICE that, pursuant to Rules 2002 and 9010 of the Federal Rules

of Bankruptcy Procedure, the undersigned hereby appears in the above-captioned chapter 11

proceedings as counsel on behalf of Washington Prime Group Inc. (“WPG”) and requests that

all notices given or required to be given in these cases, including, but not limited to, all orders

and notices of any application, motion, petition, pleading, request, complaint or demand,

whether written or oral, and whether transmitted or conveyed by mail, electronic mail, ECF

notice, hand delivery, telephone or otherwise, which affects WPG or these chapter 11

bankruptcy cases to be served upon:


                                      Ronald E. Gold
                                      Ohio Bar No. 0061351
                                      Frost Brown Todd LLC
                                      3300 Great American Tower
                                      301 East Fourth Street
                                      Cincinnati, OH 45202
                                      513-651-6800 Telephone
                                      513-651-6981 Facsimile
                                      E-mail rgold@fbtlaw.com


     PLEASE TAKE FURTHER NOTICE that this entry of appearance is not intended as

nor is it a consent to jurisdiction of the Bankruptcy Court over WPG, specifically but not

limited to (i) its right to have final orders in non-core matters entered only after de novo review
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by a district judge, (ii) its right to a trial by jury in any proceeding triable herein, or in any case,

controversy or proceeding related hereto, (iii) its right to have the reference withdrawn by the

District Court in any matter subject to mandatory, or discretionary withdrawal, or (iv) any

other rights, claims, actions, defenses, setoffs, or recoupments to which WPG is or may be

entitled to under agreement, in law or equity, all of which rights, claims, actions, defenses,

setoffs and recoupments WPG expressly reserves.


Date:   March 1, 2017                                  Respectfully submitted,


                                                       FROST BROWN TODD LLC


                                                 By:    /s/ Ronald E. Gold
                                                        Ronald E. Gold, Esq.
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                                                        COUNSEL FOR
                                                        WASHINGTON PRIME GROUP INC.
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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 1st day of March, 2017, a true and correct copy of the

foregoing Notice of Appearance and Request for Notices was sent via ECF Noticing to all

parties receiving ECF Notices in these chapter 11 cases.


                                                    /s/ Ronald E. Gold
                                                    Ronald E. Gold
